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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

EMPLOYERS MUTUAL CASUALTY          )
COMPANY, an insurance company      )
Incorporated in the State of Iowa; )
                                   )                 CIVIL ACTION NUMBER
     Plaintiff,                    )
                                   )
v                                  )
                                   )
JEFF HUFF, HIGHLINE IMPORTS, INC., )
And RAMI ACHDUT.                   )
                                   )
     Defendants.                   )


              COMPLAINT FOR DECLARATORY JUDGMENT

              PARTIES AND JURISDICTIONAL ALLEGATIONS

      1.     Plaintiff Employers Mutual Casualty Company (“EMC”) is an

insurance company incorporated and organized under the laws of the State of Iowa,

having its principal place of business in the State of Iowa.

      2.     Defendant, Jeff Huff (hereinafter “Huff”), is an individual resident of

the State of Alabama and is over the age of nineteen (19) years. Huff is a plaintiff

in an underlying action defined further infra.

      3.     Defendant Highline Imports, Inc. (hereinafter “Highline”) is an

Alabama Corporation with its principal place of business in Jefferson County,

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Alabama and doing business in Alabama and specifically in Jefferson County at all

times material to this matter. Highline is a Defendant in an underlying action defined

further infra.

      4.     Defendant, Rami Achdut (hereinafter “Achdut”), is an individual

resident of the State of Alabama and is over the age of nineteen (19) years. Achdut

is a defendant in an underlying action defined further infra.

      5.     Huff, Highline and Achdut are parties in an underlying state court

action filed on or about August 12, 2015 in the Circuit Court of Jefferson County,

Alabama docket number CV-2015-903124 styled Jeff Huff v. Highline Imports, Inc.,

et al (hereinafter “the underlying action”) (Complaint and Amended Complaint filed

in the underlying action attached hereto as Exhibit 1).

      6.     The underlying action alleges, inter alia, breach of contract, deceit and

fraud actions arising out of an alleged written contract for employment entered

between Huff and Highline and Achdut.

      7.     The amount in controversy, exclusive of interest and costs, exceeds the

sum of $75,000.00. Huff alleges that the contract provided a base salary of $15,000

for the months of February 2014 through June 2014 and 30% commission of internet

sales and 10% commission of dealership sales. (Underlying Complaint, para. 8,

Amended Complaint para 3, Exhibit 1). In addition, plaintiff alleges he was to

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receive a company car with insurance and a laptop computer (Underlying Complaint,

para. 8. Exhibit 1).

      8.     This declaratory judgment action concerns the underlying action

wherein damages are sought for alleged breach of the employment contract, deceit

and fraud. Moreover, Highline and Achdut each separately seek defense and

indemnity from EMC for the claims alleged against them in the underlying action.

      9.     Although the underlying complaint does not contain an ad damnum

clause, the nature of the claims and allegations of damages, demonstrate that Huff is

seeking more than $75,000.00 against the Highline and Achdut. Moreover, EMC is

providing a separate defense to both Highline and Achdut pursuant to a strict

reservation of rights and the defense costs of the underlying action are appropriate

in determining the amount in controversy in a declaratory judgment action such as

this. St. Paul Reinsurance Co., Ltd. v. Greenburg, 134 F.3d 1250 (5th Cir. 1998);

See also 14B Charles Alan Wright, Arthur R. Miller & Edward H. Cooper, Federal

Practice and Procedure, § 3702 (3d ed. 1998)(approving inclusion of value of

defense in amount in controversy between insurer and insured, citing Stonewall Ins.

Co. v. Lopez, 544 F.2d 198 (5th Cir. 1976)). As such, jurisdiction is predicated on

diversity of citizenship and the amount in controversy, 28 U.S.C. §1332 and on the

Federal Declaratory Judgment Act, 28 U.S.C. §2201.

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      10.   Venue is proper in this court pursuant to 28 U.S.C. §1391 as the

underlying action is pending in Jefferson County, Alabama Circuit Court which is

situated within the district and divisional boundaries of the Northern District of

Alabama.

                          UNDERLYING LAWSUIT

      11.   In the underlying action, Huff alleges that Highline and Achdut

breached the contract by failing to adhere to and comply with the terms and

conditions specified therein. (Underlying Complaint, para. 10, Exhibit 1).

      12.   Huff asserts the following causes of action against the builder: (1)

Breach of Contract; (2) Fraud, Misrepresentation and Deceit; (Underlying

Complaint, Exhibit 1) and (3) Promissory Fraud. (Amended Complaint, Exhibit 1)

      13.   Huff alleges that he suffered and will continue to suffer lost income and

other benefits.   (Underlying Complaint, para. 11, Exhibit 1).          Huff seeks

compensatory and punitive damages. (Underlying Complaint, Exhibit 1).

                                   POLICIES

      14.   Plaintiff EMC issued Commercial General Liability Policy Number

4D7-28-24 to Highline Imports, Inc. with effective policy dates of March 1, 2013 to

March 1, 2014 and renewed thereafter to March 1, 2015. (“The CGL Policy”). A

true and correct copy of the CGL Policy is attached to this Complaint as Exhibit 2

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and the provisions of the CGL Policy are adopted and incorporated herein by

reference.

      15.    Plaintiff EMC issued Commercial Auto-Garage Policy Number 4E7-

28-24 to Highline Imports, Inc. with effective policy dates of March 1, 2013 to

March 1, 2014 and renewed thereafter to March 1, 2015. (“Auto-Garage Policy”).

A true and correct copy of the Auto-Garage Policy is attached to this Complaint as

Exhibit 3 and the provisions of the Auto-Garage Policy are adopted and incorporated

herein by reference.

      16.    Plaintiff EMC issued Umbrella General Liability Policy Number 4J7-

28-24 to Highline Imports, Inc. with effective policy dates of March 1, 2013 to

March 1, 2014 and renewed thereafter to March 1, 2015. (“Umbrella Policy”). A

true and correct copy of the Umbrella Policy is attached to this Complaint as Exhibit

4 and the provisions of the Umbrella Policy are adopted and incorporated herein by

reference.

                   Commercial General Liability Policy

      17.    The CGL Policy provides that EMC “will pay those sums that the

insured becomes legally obligated to pay as damages because of “bodily injury” or

“property damage” to which this insurance applies….”

      18.    The CGL Policy further provides that the insurance applies to “bodily

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injury” and “property damage” only if the “bodily injury” or “property damage” is

caused by an “occurrence”. The CGL Policy defines these terms as follows:

      “Bodily injury” means bodily injury, sickness or disease sustained by a
      person, including death resulting from any of these at any time.

      “Property damage” means:
            a.    Physical injury to tangible property, including all resulting
                  loss of use of that property. All such loss of use shall be
                  deemed to occur at the time of the physical injury that
                  caused it; or
            b.    Loss of use of tangible property that is not physically
                  injured. All such loss of use shall be deemed to occur at
                  the time of the “occurrence” that caused it.
            For the purposes of this insurance, electronic data is not tangible
                  property.
            As used in this definition, electronic data means information,
            facts or programs stored as or on, created or used on, or
            transmitted to or from computer software, including systems and
            applications software, hard or floppy diskes, CD-ROMS, tapes,
            drives, cells, data processing devices or any other media which
            are used with electronically controlled equipment.

      “Occurrence” means an accident, including continuous or repeated
      exposure to substantially the same general harmful conditions.

      19. The CGL Policy further provides that the insurance applies to an insured
and defines an insured as follows:
      1.     If you are designated in the Declarations as:
             d.     An organization other than a partnership, joint venture or
                    limited liability company, you are an insured. Your
                    “executive officers” and directors are insureds, but only
                    with respect to their duties as your officers or directors.
                    Your stockholders are also insureds, but only with respect
                    to their liability as stockholders.

      20.   The CGL Policy contains an endorsement entitled Absolute Exclusion
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for Fraud, Misrepresentation, Deceit or Suppression or Concealment of Fact which

provides as follows:

      This insurance does not apply to any claim or lawsuit for damages
      arising out of fraud, misrepresentation, deceit, suppression or
      concealment of fact, whether intentional, unintentional, innocent,
      negligent, willful, malicious, reckless or wanton, including, but not
      limited to an action or lawsuit demanding or seeking damages or
      recover based on direct liability, vicarious liability or agency principles.
      We will not make any payment if those payments arise out of any claim
      or lawsuit excluded by this endorsement. We have no duty to defend
      any insured against any claim or lawsuit for damages to which this
      insurance does not apply.

      This exclusion applies regardless of:
      1. Whether such operations are or were conducted by you or on your
      behalf; or
      2. Whether the operations are or were conducted for you or for others.

      21.    The CGL Policy contains an endorsement for employment-related

practices exclusion which provides that the coverage does not apply to “bodily

injury,” and/or “personal and advertising injury” to:

      (1)    A person arising out of any;
            (a) Refusal to employ that person;
            (b) Termination of that person’s employment; or
            (c) Employment-related practices, policies, acts or omissions, such
                   as coercion, demotion, evaluation, reassignment, discipline,
                   defamation, harassment, humiliation or discrimination directed
                   at that person; or
      (2) The spouse, child parent, brother or sister of that person as a
            consequence of “bodily injury” or “personal injury” to that person at
            whom any of the employment-related practices described in paragraphs
            (a), (b) or (c) above is directed.
      This exclusion applies:
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      (1) Whether the injury-causing event described in Paragraph (a), (b) or (c)
above occurs before employment, during employment or after employment of that
person;
      (2) Whether the insured may be liable as an employer or in any other
capacity; and
      (3) To any obligation to share damages with or repay someone else who
must pay damages because of the injury.

      22.    The CGL Policy excludes “Bodily injury” to:
             (1) An “employee” of the insured arising out of and in the course of:
                   (A) Employment by the insured; or
                   (B) Performing duties related to the conduct of the insured’s
             business;
             This exclusion applies:
                   (A) Whether the insured may be liable as an employer or in
                   any other capacity; and
                   (B) To any obligation to share damages with or repay someone
                   else who must pay damages because of the injury.

      23.    The CGL Policy does not apply to: “bodily injury” or “property

damage” expected or intended from the standpoint of the insured. This exclusion

does not apply to “bodily injury” resulting from the use of reasonable force to protect

persons or property.

      24.    The CGL policy excludes “bodily injury” or “property
             damage” for which the insured is obligated to pay damages by
             reason of the assumption of liability in a contract or agreement.
             This exclusion does not apply to liability for damages:
             (1) That the insured would have in the absence of the
                   contract or agreement; or
             (2) Assumed in a contract or agreement that is an “insured
                   contract”, provided the “bodily injury” or “property
                   damage” occurs subsequent to the execution of the
                   contract or agreement. Solely for the purposes of liability
                   assumed in an “insured contract”, reasonable attorney
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                    fees and necessary litigation expenses incurred by or for
                    a party other than an insured are deemed to be damages
                    because of “bodily injury or property damage”,
                    provided:
                    (a) Liability to such party for, or for the cost of, that
                           party’s defense has also been assumed in the same
                           “insured contract”; and
                    (b) Such attorney fees and litigation expenses are for
                           defense of that party against a civil or alternative
                           dispute resolution proceeding in which damages
                           to which this insurance applies are alleged.

     25. This CGL Policy also contains an exclusion for garage operations
which provides as follows:

      This insurance does not apply to “bodily injury”, “property damage”,
      “personal and advertising injury” covered under the garage policy
      shown in the schedule arising out of “Garage Operations.”

      In the endorsement “Garage Operations” means the ownership, maintenance

or use of locations for garage business and that portion of the roads of other accesses

that adjoin these locations. “Garage Operations” also include operations necessary

or incidental to a garage business.

      26.    The CGL Policy requires notice as soon as practicable of an

“occurrence” or an offense which may result in a claim.

      27.    The CGL Policy requires written notice as soon as practicable if a claim

is made or “suit” is brought.




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      28.        EMC owes no duty to defend and/or indemnify Highline and/or Achdut

under the CGL Policy of insurance with respect to the allegations in the underlying

action for one or more of the following reasons:

            a.     EMC’s insuring agreement has not been triggered;

            b.     The claims asserted against Highline and/or Achdut do not allege

                   “bodily injury” as it is defined in the CGL Policy and required by

                   the Insuring Agreement of EMC’s CGL Policy;

            c.     The claims asserted against Highline and/or Achdut do not allege

                   “property damage” as it is defined in the CGL Policy and required

                   by the Insuring Agreement of EMC’s CGL Policy;

            d.     The claims asserted against the Highline and/or Achdut do not allege

                   an “occurrence” as it is defined in the CGL Policy and required by

                   the Insuring Agreement of EMC’s CGL Policy;

            e.     The claims asserted against the Highline and/or Achdut do not allege

                   “bodily injury” and/or “property damage” caused by an

                   “occurrence” as the terms are defined in the CGL Policy and

                   required by the Insuring Agreement of EMC’s CGL Policy;

            f.     The following exclusions contained in EMC’s CGL Policy apply to

                   preclude coverage for Highline and/or Achdut in the underlying

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                   action, in whole or in part: (1) absolute exclusion for fraud,

                   misrepresentation, deceit or suppression or concealment of fact; (2)

                   employment related practices exclusion; (3) employer’s liability; (4)

                   expected or intended injury; (5) contractual liability; and (6) all

                   other policy exclusions;

            g.     Notice of the claim was not timely;

            h.     Notice of the suit was not timely;

            i.     Achdut does not qualify as an insured as defined in the CGL Policy

                   and required by the Insuring Agreement of EMC’s CGL Policy;

            j.     EMC’s CGL Policy further contains a deductible liability insurance

                   provision which EMC reserves the right to enforce same; and

            k.     All other policy provisions, exclusions and conditions.

      29.        Because application of the pertinent portions, terms, provisions,

exclusions, conditions, etc., under EMC’s CGL policy preclude coverage for

Highline and Achdut in the underlying action, EMC owes no duty to defend or

indemnify them for any judgment, consent or otherwise, that might be rendered

against them, for some or all of Huff’s allegations in the underlying action, for each

and every reason stated above.




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                        Commercial Auto-Garage Policy

      30.   The Auto-Garage Policy provides that EMC “will pay those sums that

the insured legally must pay as damages because of “bodily injury” or “property

damage” to which this insurance applies….”

      31.   The Auto-Garage Policy further provides that the insurance applies to

“bodily injury” and “property damage” only if the “bodily injury” or “property

damage” is caused by an accident and resulting from garage operations other than

the ownership, maintenance or use of covered “autos”. The Auto-Garage Policy

defines these terms as follows:

      “Bodily injury” means bodily injury, sickness or disease sustained by a
      person, including death resulting from any of these at any time.

      “Property damage” means damage to or loss of use of tangible property.

      “Accident” includes continuous or repeated exposure to the same
      conditions resulting in “bodily injury” or “property damage”.

      32. The Auto-Garage Policy further provides that the insurance applies to an
insured and defines an insured as follows:
             a.    The following are “insureds” for covered “autos”:
                   (1) You for any covered “auto”. . . .
                   (3) Anyone liable for the conduct of an “insured” described
                          above but only to the extent of that liability.
             b.    The following are “insured” for “garage operations” other than
                   covered “autos”:
                   (1) You.
                   (2) Your partners (if you are a partnership), members (if you
                          are a limited liability company), “employees”, directors or
                          shareholders but only while acting within the scope of
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                           their duties.

      33.    The Auto-Garage Policy describes any “auto” (identified in the

declaration page as symbol 21) as a covered auto for liability coverage. “Auto” is

defined as a land motor vehicle, trailer or semitrailer.

      34.    The Auto-Garage Policy does not apply to “bodily injury” or “property

damage” expected or intended from the standpoint of the “insured”. But for “garage

operations” other than covered “autos” this exclusion does not apply to “bodily

injury” resulting from the use of reasonable force to protect persons or property.

      35.    The Auto-Garage Policy excludes:

      Liability assumed under any contract or agreement. But this exclusion
      does not apply to liability for damages:
      A.     Assumed in a contract or agreement that is an “insured contract”
             provide the “bodily injury” or “property damage” occurs
             subsequent to the execution of the contract or agreement; or
      B.     That the “insured” would have in the absence of the contract or
             agreement.

     36. The Auto-Garage Policy contains an exclusion for Employee
Indemnification and Employer’s Liability which precludes:

      “Bodily injury” to:
      a.     An “employee” of the “insured” arising out of and in the course of:
             (1) Employment by the “insured”; or
             (2) Performing duties related to the conduct of the insured’s
business; or
      b.     The spouse, child, parent, brother or sister of the “employee” as a
consequence of Paragraph a. above.
      c.     A person arising out of any;
             (1) Refusal to employ that person;
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            (2) Termination of that person’s employment; or
            (3) Employment-related practices, policies, acts or omissions, such
as coercion, demotion, evaluation, reassignment, discipline, defamation,
harassment, humiliation or discrimination directed at that person; or
       d.   The spouse, child parent, brother or sister of that person as a
consequence of “bodily injury” or “personal injury” to that person at whom any of
the employment-related practices described in paragraphs (a), (b) or (c) above is
directed.

      This exclusion applies:
      (1) Whether the insured may be liable as an employer or in any other
capacity; and
      (2) To any obligation to share damages with or repay someone else who
must pay damages because of the injury. …

      37.        The Auto-Garage Policy requires prompt notice of a claim or suit.

      38.        The Auto-Garage Policy requires prompt written notice if a claim is

made or “suit” is brought.

      39.        EMC owes no duty to defend and/or indemnify Highline and/or Achdut

under the Auto-Garage Policy of insurance with respect to the allegations in the

underlying action for one or more of the following reasons:

            a.      EMC’s insuring agreement has not been triggered;

            b.      The claims asserted against Highline and/or Achdut do not allege

                    “bodily injury” as it is defined in the Auto-Garage Policy and

                    required by the Insuring Agreement of EMC’s Auto-Garage Policy;




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 c.    The claims asserted against Highline and/or Achdut do not allege

       “property damage” as it is defined in the Auto-Garage Policy and

       required by the Insuring Agreement of EMC’s Auto-Garage Policy;

 d.    The claims asserted against the Highline and/or Achdut do not allege

       an accident as it is defined in the Auto-Garage Policy and required

       by the Insuring Agreement of EMC’s Auto-Garage Policy;

 e.    The claims asserted against the Highline and/or Achdut do not allege

       “bodily injury” and/or “property damage” caused by an accident and

       resulting from “garage operations” as the terms are defined in the

       Auto-Garage Policy and required by the Insuring Agreement of

       EMC’s Auto-Garage Policy;

 f.    The following exclusions contained in EMC’s Auto-Garage Policy

       apply to preclude coverage for Highline and/or Achdut in the

       underlying action, in whole or in part: (1) expected or intended

       injury; (2) contractual liability; (3) employee indemnification and

       employer liability; and (4) all other policy exclusions;

 g.    Notice of the claim was not timely;

 h.    Notice of the suit was not timely;




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            i.      Achdut does not qualify as an insured as defined in the Auto-Garage

                    Policy and required by the Insuring Agreement of EMC’s Auto-

                    Garage Policy;

            j.      EMC’s Auto-Garage Policy further contains a deductible liability

                    insurance provision which EMC reserves the right to enforce same;

                    and

            k.      All other policy provisions, exclusions and conditions.

      40.        Because application of the pertinent portions, terms, provisions,

exclusions, conditions, etc., under EMC’s Auto-Garage Policy preclude coverage

for Highline and Achdut in the underlying action, EMC owes no duty to defend or

indemnify them for any judgment, consent or otherwise, that might be rendered

against them, for some or all of Huff’s allegations in the underlying action, for each

and every reason stated above.

                                     Umbrella Policy

      41.        The Umbrella Policy provides that EMC “will pay on behalf of the

insured the “ultimate net loss” in excess of the “retained limit” because of “bodily

injury” and/or “property damage”

      42.        The Umbrella Policy further provides that the insurance applies to

“bodily injury” and “property damage” only if the “bodily injury” or “property

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damage” is caused by an “occurrence”. The Umbrella Policy defines these terms as

follows:

      “Ultimate net loss” means the total sum, after reduction for recoveries or
      salvages collectible, that the insured becomes legally obligated to pay as
      damages by reason of settlement or judgments or any arbitration or other
      alternate dispute method entered into with our consent or the “underlying
      insurer’s” consent.

      “Occurrence” means an accident, including continuous or repeated exposure
      to substantially the same general harmful conditions.

      “Bodily injury” means bodily injury, disability, sickness, or disease sustained
      by a person, including death resulting from any of these at any time. “Bodily
      injury” includes mental anguish or other mental injury resulting from “bodily
      injury”.

      “Property damage” means:
            A.     Physical injury to tangible property, including all resulting loss
            of use of that property. All such loss of use shall be deemed to occur
            at the time of the physical injury that caused it; or
            B.     Loss of use of tangible property that is not physically injured.
            All such loss of use shall be deemed to occur at the time of the
            “occurrence” that caused it.
                   ...
      For the purposes of this insurance, electronic data is not tangible property.

      As used in this definition electronic data means information, facts or programs
      stores as or on, created or used on, or transmitted to or from computer
      software, (including systems and applications software), hard or floppy disks,
      CD-ROMS, tapes, drives, cells, data processing devices or any other media
      which are used with electronically controlled equipment.

      43. The Umbrella Policy further provides that the insurance applies to an
insured and defines an insured as follows:
      1.     If you are designated in the Declarations as:
             4.     An organization other than a partnership, joint venture or
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                   limited liability company, you are an insured. Your
                   “executive officers” and directors are insureds, but only
                   with respect to their duties as your officers or directors.
                   Your stockholders are also insureds, but only with respect
                   to their liability as stockholders.

      44.    The Umbrella Policy contains an endorsement entitled Absolute

Exclusion for Fraud, Misrepresentation, Deceit or Suppression or Concealment of

Fact which provides as follows:

      This insurance does not apply to any claim or lawsuit for damages
      arising out of fraud, misrepresentation, deceit, suppression or
      concealment of fact, whether intentional, unintentional, innocent,
      negligent, willful, malicious, reckless or wanton, including, but not
      limited to an action or lawsuit demanding or seeking damages or
      recover based on direct liability, vicarious liability or agency principles.
      We will not make any payment if those payments arise out of any claim
      or lawsuit excluded by this endorsement. We have no duty to defend
      any insured against any claim or lawsuit for damages to which this
      insurance does not apply.

      This exclusion applies regardless of:
      1. Whether such operations are or were conducted by you or on your
      behalf; or
      2. Whether the operations are or were conducted for you or for others.

      45.    The Umbrella Policy contains an endorsement for employment-related

practices exclusion which provides that the coverage does not apply to “bodily

injury,” and/or “personal and advertising injury” to:

      (1)     A person arising out of any;
             (a) Refusal to employ that person;
             (b) Termination of that person’s employment; or

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             (c)    Employment-related practices, policies, acts or omissions, such
                    as coercion, demotion, evaluation, reassignment, discipline,
                    defamation, harassment, humiliation or discrimination directed
                    at that person; or
       (2) The spouse, child parent, brother or sister of that person as a
consequence of “bodily injury” or “personal injury” to that person at whom any of
the employment-related practices described in paragraphs (a), (b) or (c) above is
directed.
This exclusion applies whether the injury-causing event described in Paragraph (a),
(b) or (c) above occurs before employment, during employment or after employment
of that person. This exclusion applies whether the insured may be liable as an
employer or in any other capacity; and to any obligation to share damages with or
repay someone else who must pay damages because of the injury.

      46.    The Umbrella Policy excludes “Bodily injury” to:
             (1) An “employee” of the insured arising out of and in the course of:
                  (a) Employment by the insured; or
                  (b) Performing duties related to the conduct of the insured’s
business;…
      This exclusion applies whether the insured may be liable as an employer or in
any other capacity; and to any obligation to share damages with or repay someone
else who must pay damages because of the injury….

      47.    The Umbrella Policy does not apply to: “bodily injury” or “property

damage” expected or intended from the standpoint of the insured. This exclusion

does not apply to “bodily injury” resulting from the use of reasonable force to protect

persons or property.

      48.    The Umbrella policy excludes “bodily injury” or “property
             damage” for which the insured is obligated to pay damages by
             reason of the assumption of liability in a contract or agreement.
             This exclusion does not apply to liability for damages:
             (1) That the insured would have in the absence of the
                   contract or agreement; or
             (2) Assumed in a contract or agreement that is an “insured
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                    contract”, provided the “bodily injury” or “property
                    damage” occurs subsequent to the execution of the
                    contract or agreement. Solely for the purposes of liability
                    assumed in an “insured contract”, reasonable attorney
                    fees and necessary litigation expenses incurred by or for
                    a party other than an insured are deemed to be damages
                    because of “bodily injury or property damage”,
                    provided:
                    (a) Liability to such party for, or for the cost of, that
                           party’s defense has also been assumed in the same
                           “insured contract”; and
                    (b) Such attorney fees and litigation expenses are for
                           defense of that party against a civil or alternative
                           dispute resolution proceeding in which damages
                           to which this insurance applies are alleged.

      49.    The Umbrella Policy does not apply to: “bodily injury” or Property

damage” due to rendering or failure to render any professional service. This includes

but is not limited to: …

        (14) Liability arising out of any actual or alleged error, misstatement,
misleading statement, act, omission, negligence or breach of duty by the insured or
its directors and officers in the discharge of their duties, individually or collectively,
or any matter claims against them solely because of their being directors and officers
of the insured;
        (15) Liability arising out of the administration of any employee benefit
programs;
        (16) Loss caused by any of the following which occur during the discharge
of organizational duties:
               (a) Actual or alleged errors;
               (b) Misstatement or misleading statement; or
               (c ) Act or omission or neglect or breach of duty by an insured.

      50.    The Umbrella Policy requires notice as soon as practicable of an

“occurrence” or an offense which may result in a claim.
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      51.        The Umbrella Policy requires written notice as soon as practicable if a

claim is made or “suit” is brought.

      52.        EMC owes no duty to defend and/or indemnify Highline and/or Achdut

under the Umbrella Policy of insurance with respect to the allegations in the

underlying action for one or more of the following reasons:

            a.      EMC’s insuring agreement has not been triggered;

            b.      The claims asserted against Highline and/or Achdut do not allege

                    “bodily injury” as it is defined in the Umbrella Policy and required

                    by the Insuring Agreement of EMC’s Umbrella Policy;

            c.      The claims asserted against Highline and/or Achdut do not allege

                    “property damage” as it is defined in the Umbrella Policy and

                    required by the Insuring Agreement of EMC’s Umbrella Policy;

            d.      The claims asserted against the Highline and/or Achdut do not allege

                    an “occurrence” as it is defined in the Umbrella Policy and required

                    by the Insuring Agreement of EMC’s Umbrella Policy;

            e.      The claims asserted against the Highline and/or Achdut do not allege

                    “bodily injury” and/or “property damage” caused by an

                    “occurrence” as the terms are defined in the Umbrella Policy and

                    required by the Insuring Agreement of EMC’s Umbrella Policy;

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            f.     The following exclusions contained in EMC’s Umbrella Policy

                   apply to preclude coverage for Highline and/or Achdut in the

                   underlying action, in whole or in part: (1) absolute exclusion for

                   fraud, misrepresentation, deceit or suppression or concealment of

                   fact; (2) employment related practices exclusion; (3) employer’s

                   liability; (4) expected or intended injury; (5) contractual liability; (6)

                   professional services; and (7) all other policy exclusions;

            g.     Notice of the claim was not timely;

            h.     Notice of the suit was not timely;

            i.     Achdut does not qualify as an insured as defined in the Umbrella

                   Policy and required by the Insuring Agreement of EMC’s Umbrella

                   Policy; and

            j.     All other policy provisions, exclusions and conditions.

      53.        Because application of the pertinent portions, terms, provisions,

exclusions, conditions, etc., under EMC’s Umbrella Policy preclude coverage for

Highline and Achdut in the underlying action, EMC owes no duty to defend or

indemnify them for any judgment, consent or otherwise, that might be rendered

against them, for some or all of Huff’s allegations in the underlying action, for each

and every reason stated above.

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                                  CLAIMS FOR RELIEF

      54.    Based upon the foregoing facts, allegations in the underlying pleadings,

and the attached Policies, there presently exists a justiciable controversy as to

whether coverage would exist as to the claims made by Huff against Highline and

Achdut and/or whether the insuring agreements are triggered or whether coverage

would be excluded by Alabama case law and the applicable language in the Policies

and/or whether the Policies conditions have been met and/or whether there has been

a forfeiture of coverage.

      55.    EMC desires to perform and discharge any duties which it may owe to

the parties involved in this incident, but is presently in doubt as to the nature and

extent of its obligations, if any, with respect to the Policy in question. Absent a

declaration of its rights and obligations, EMC will be exposed to substantial and

irreparable injury and uncertainty, all of which can be avoided by the declaration of

its rights as requested herein.

      56.    EMC respectfully requests that this Court assume jurisdiction over this

cause and allow EMC to determine all coverage issues as may exist under all the

terms and provisions of the Policy. EMC prays that this Court will generally declare

and define the following:

             a.     That this Honorable Court take jurisdiction of this case;

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            b.     That this Honorable Court order, adjudge and decree that this is

                   a proper cause for an action of declaratory judgment and that

                   there is a bona fide controversy between the parties as to their

                   legal rights, status and liability;

            c.     That process of this Honorable Court be issued to the Defendants

                   and that they be ordered to respond to this Complaint for

                   Declaratory Judgment within the time required by law, or in the

                   event of their failure to do so, suffer a decree by default;

            d.     That upon a final hearing of this case, this Honorable Court will

                   declare that EMC does not owe a duty to defend or indemnify

                   Highline and/or Achdut in the underlying action under the

                   Policies issued to Highline; and

            e.     EMC also requests such further and different relief as may be

                   appropriate to accomplish justice and equity among the parties.


Done this the 21st day of March, 2017.



                                         /s/ James A. Kee, Jr., ASB-4314-e68j
                                         Cynthia A. Martin, ASB-2044-i49c
                                         Attorneys for Plaintiff
                                         Employers Mutual Casualty Company

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OF COUNSEL:

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Birmingham, Alabama 35243
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(205)968-9909 (fax)


REQUESTING SERVICE BY CERTIFIED MAIL TO BE SENT TO THE
FOLLOWING DEFENDANTS AT:

Jeff Huff
5133 Weatherford Drive
Birmingham, Alabama 35242

Highline Imports, Inc.
By registered agent Rami Achdut
329 24th Street South
Birmingham, Alabama 35233-2407

Rami Achdut
3499 Overton Road
Birmingham, Alabama 35223




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